Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 1 of 30 PageID #: 469


                                     11-CV-19s

                                     I-INITED STATED DISTRICT COURT
                                     EASTERN DISTRICT OF NEW YORK

                                     JOHN TABOR,

                                                                                    Plaintiff,

                                                            -against-

                                     NEW YORK CITY, DETECTIVE JAMES ROPENUS,
                                     DETECTIVE MCLAUGHLIN, POLICE OFFICER
                                     SINGLETARY, AS SISTANT DISTRICT ATTORNEY
                                     KEISHA ESPINAL, ASSISTANT DISTRICT
                                     ATTORNEY LAUREN PARSONS, ASSISTANT
                                     DISTRICT ATTORNEY KENNETH APPLEBAUM,
                                     ASSISTANT DISTRICT ATTORNEY MARJORIE
                                     FISHER, DISTRICT ATTORNEY RICHARD BROWN,
                                     AND POLICE COMMISSIONER RAYMOND KELLY,
                                     IN THEIR INDIVIDUAL AND PROFESSIONAL
                                     CAPACITIES,

                                                                                 Defendants.



                                     DEFENDANTS' MEMORANDUM OF LAW IN
                                     SUPPORT OF THEIR MOTION FOR SUMMARY
                                     JUDGMENT


                                                   MICTIAEL A, CARDOZO
                                           Corporation Counsel of the City of New York
                                               Attorneyþr Defendants City of New York,
                                               Detectives Ropenus, Mc Lauhglin and
                                               Singletary
                                               100 Church Street
                                               New York, N.Y. 10007

                                                 Of Counsel: Matthew Modafferi
                                                 Tel: (212) 788-1652
                                                 NYCUS #: 20 r 1-001 I r 3
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 2 of 30 PageID #: 470



                                   TABLE OF CONTENTS

                                                                               Page


 TABLE OF AUTHORITIES      ...


 PRELIMINARY STATEMENT                                                            1



 STATEMENT OF FACTS.                                                              2

 STANDARD FOR SUMMARY ruDGMENT..                                                  2

 ARGUMENT

            POINT I

                      PLAINTIFF'S FALSE ARREST CLAIM FAILS
                      AS PROBABLE CAUSE EXISTED FOR HIS
                      ARREST                                                      4

            POINT II

                      PLAINTIFF FAILS TO ESTABLISH              A CLAIM
                      FOR MALICIOUS PROSECUTION.,                                10

                         A.      The Individually Named Defendants Did
                                 Not Commence Plaintiffl s Prosecution ..,..     1l

                         B.      Probable Cause Existed For Plaintiffs
                                 Criminal Prosecution                            t2

                         C.      Defendants Did Not Act V/ith Malice

            POINT III

                      DEFENDANTS ROPENUS,                  MCLAUGHLIN
                      AND SINGLETARY ARE                 ENTITLED       TO
                      QUALIFIED IMMI.INITY                                       t4

            POINT IV

                      PLAINTIFF'S CLAIM AGAINST THE CITY OF
                      NEV/ YORK FAILS AS PLAINTIFF CANNOT
                      ESTABLISH AN              UNDERLYING
                      CONSTITUTIONAL VIOL4TION,...,.........                     t6
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 3 of 30 PageID #: 471



                                                                          Page


            POINT V

                   PLAINTIFF'S CONSTITUTIONAL TORT AND
                   LOSS OF FAMILIAL RELATIONSHIP CLAIMS
                   FAIL AS A MATTER OF LAV/                                  t6

 CONCLUSION                                                                  19




                                        ll
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 4 of 30 PageID #: 472



                                    TABLE OF AUTHORITIES

 Cases                                                                         Pages

 Albrieht v, Oliver,
    s10 u.s. 266 (r9e4)..                                                      11, l8

 Anderson v. Liberty Lobby. Inc.,
   477 U.5.242 (1996)                                                                  J


 Baker v. McCollan,
   443 U.S. 137 (1979)                                                                 8


 Batson-Kirk v. City of New York,
   07-cv-19s0 (KAMXJMA),
   2009 U.S. Dist. LEXIS 44841 (E.D.N.Y. May 28,2009)   .                            t2

 Bernard v. U.S.,
    25 F .3d 98 (2d Cir. 1994)                                                     4,5

 Brodie v. Fuhrman,
   07-cY-4212,
   2010 U.S. Dist. LEXIS 30158 (E.D.N.Y. Mar,      29,2010)       ,....,....,....,..,8-9

 Brown v. Metropolitan Trans. Auth..
    7t7 F. Supp. 2s7 (S,D,N.Y. 1989)                                               .17

 Campbell v. Giuliani,
    99 Civ. 2603 (JG),
   2001 U.S. Dist. LEXIS 609 (S.D.N.Y. Jan.24,2001)                                    5


 Celestin v. Cit)' of New York,
   s8l F, Supp.2d420 (E.D.N.Y.2008)                                                    9


 Celotex Corp. v. Catrett,
                                                                                       a
    477 U.5.317 (1986).                                                                J


 Cit)' of Los Angeles v. Heller,
   47s U.S. 7e6 (1e86)                                                               l6

 Coyle v. Coyle,
   153 Fed. Appx. l0 (2d Cir. 2005)                                                    5


 Curley v, Village of Suffern,
   268 F.3d 6s (2d Cir. 2001),...                                                  5,8




                                             lll
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 5 of 30 PageID #: 473



 Cases                                                                    Pages


 Daniels v, Citv of New York,
   03 Civ. 809 (GEL),
   2003 U.S. Dist. LEXIS 19765 (S.D.N.Y. Nov. 5, 2003),                       7


 Davidson v. Bronx Mu4. Hosp,,
   64 N.Y.2d 59,484 N.Y.S.2d 533 (1984)                                      17


 Donovan v, Briggs,
   2s0 F. Supp. 2d242 (W.D.N.Y. 2003)                                        15


 Eastman Kodak Co. v. Imase Technical Servs.. Inc.,
   s04 u.s. 4st (1992)                                                        J


 Escalera v. Lunn,
   361 F,3d 737 (2dCif.2004)..                                               t4

 Felder v. Casey,
   487 U.S. l3l (1e88)..                                                     17


 Gallo v. Prudential Residential Servs.. Ltd. Partnership,
   22 F .3d 1219 (2d Cir. 1994)                                               J


 Gaston v. City of New York,
   11 Civ. 47s0 (AJP),
   2012 U.S. Dist. LEXIS 46243 (S,D.N.Y. Apr.2,2012)                          7


 Graham v. Connor,
   4e0 u.s. 386 (1e8e)                                                       l8

 Granito v. Tiska,
   120 Fed, Appx. 847 (2d Cir, 2005)

 Harlow v. Fitzgerald,
   4s7 U,S. 800 (1ee2)                                                       14


 Hyde v. Caputo,
    e8-cv- 6772 (FB) (ASC),
   2001 U,S, Dist. LEXIS 6253 (May I l, 2001)     ,,                         t7

 Illinois v. Gates,
      462U.5.213 (1983)                                                       4


 Jaegly v. Couch,
    439 F.3d r49 (2d Cir, 2006)                                               4



                                                  IV
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 6 of 30 PageID #: 474



 Cases                                                                    Pages



 Jean   v. City of New York,
   0e   cv
         801 (RJD),
   201I U.S. Dist, LEXIS 110954 (E.D.N.Y. Sept. 28, 2011).                  5,7

 Jocks v. Tavernier,
    316 F.3d 128 (2d Cir. 2003)....                                        4,   ll
 Lowth v. Town of Cheektowasa.


 Lyles v. State of New York,
   2 A.D.3d 694 (1.{,Y, App. Div. 2d Dep't 2003)                                18


 Malley v. Briggs,
   47s U,S. 33s    (1e86)                                                 .....14

 Martinez v. Cit), of New York,
  No, 06 Civ.5671(V/HP),
   2008 U.S. Dist. LEXIS 49203 (S.D.N.Y, Iune27,2008),
   aff d Martinez v. Muentes,
   340 Fed. Appx. 700 (2d Cir. July 27,2009)                                    t6

 Maryland v. Prinsle-
   s40 u.s. 366 (2003)...                                                        4

 Matsushita Elec. Indus. Co. v, Zenith Radio Corp.,
   47s U,S. s74 (t986)....,..,.,                                                 J

 McClellan v. Smith,
   439 F .3d 137 (2d Cir. 2006)

 Michigan v. DeFillippo,
    443 U.S. 3t (1e7e)..,                                                        5


 Miloslavsk)'v. AES Ene'g Soc'y. Inc.,
    808 F. Supp, 351 (S.D.N.Y. 1992),
    afl d,993 F.2d 1534 (2d Cir. 1993),
    cert. denied, 510 U.S. 817 (1993)                                            5


 Mitchell v. Forsyth,
    472U.S. sI l (198s)..,.......                                               14




                                                V
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 7 of 30 PageID #: 475



 Cases                                                                    Pages


 Nardelli v..Stamberg,
   44 N,Y.2d s00 (1978)                                                          t4

 Obilo v. Citv Universitv of the Citv of N Ynrk
   2003 U.S. Dist. LEXIS 2886 (E.D.N.Y. Feb. 28,2003)..                     ..12

 Panetta v. Crowley,
    460 F.3d 388 (2d Cir. 2006).,.,.,                                     ,.4,    8


 Parise v. New York Ci tv Den't of S    tation-
   306 F. App'x 695 (2d Cir. 2009)                                               17


 Parisi v, Suffolk Cnty.,
   No. 04-CV-2187,
   2009 U.S, Dist. LEXIS I12388 (E.D.N.Y. Nov. 30, 2009)                   7,75

 Pierson v. Ray,
    386 U.S. s47 (1967)                                                           5


 Rehberg v. Pautk,
   132 S. Ct. 1497 (20t2)                                                 l l,   13


 Riccio v. State of New York,
   08-cv-1588,
   2012 U.S. Dist, LEXIS70024 (E.D.N.Y. May 10,2012)                             7-8

 Ricciuti v. New           Transit Authority.
    124 F.3d 123 (2d Cir. 1997)                                                   5


 Robison v. Via,
    82t F.2d9t3 (2d Cir. 1987).                                                  15


 Rohman v. New York Citv Transit Auth..
   2ls F.3d 208 (2d Cir. 2000)                                                   1l

 Rothstein v, Carriere,
   373 F.3d 275 (2d Cir. 2004).                                           11, 13

 Savino v, City ofNew
   331 F.3d 63 (2d Cir. 2003)                                                    13


 Scotto v. Almenas.
                                                                                  a
    143 F.3d 10s (2d Ctu. 1998).                                                  J




                                                  vi
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 8 of 30 PageID #: 476



 Cases                                                                     Pages


 Silberstein v. County of Westchester,
     92 A.D.867 (2d Dept 1983),
     af?d,62 N.Y.2d 675 (1984)                                                  t7

 Singer v. Fulton County Sherift
    63 F.3d It}  (2d Cir. 1995).                                                 5


 Smith v. City of New York,
   388 F. Supp. 2d 179 (S.D.N.Y. 2005).,......                                   7

 Sulkowska v. City of New York,
    129 F, Supp. 2d 27 4 (S.D.N.Y. 2001)                                      ,14

 Tenenbau{n v. Williams,
   193 F.3d 581 (2d Cir. 1999).                                              .. 18

 Vassallo v. Lando.
   591 F, Supp, 2d t72 (E.D.N,Y. 2008)                                          t6
                                        tt
 Warner v. Vi llaoe of Goshen Police
   256 F . Supp. 2d 17l (S.D,N.Y. 2003)........                                 t7

 Weyant v. Okst,
   101 F,3d 84s (2d. Cir,   1996).                                      .......4, s

 White v. Frank,
   8s5 F.2d 956 (2d Cir. 1988)                                                  1l

 Wyler v. United States,
   725 F,2d 156 (2d Cir. 1983)                                                   J

 Ying Jing Gan v. Citv of New York,
    996 F .2d 522 (2d Cir. 1993)                                                 J




                                                  vll
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 9 of 30 PageID #: 477



 Statutes                                                                 Cases



 Fed. R. Civ. P. 56..........,.....                                           2


 N.Y. Gen. Mun. Law $ 50-e                                                   t7

 N,Y. Gen. Mun. Law $ 50-i                                                  .r7




                                       vlll
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 10 of 30 PageID #: 478



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  JOHN TABOR,                                                        DEFENDANTS CITY OF
                                                                     NEW YORK, AND
                                                      Plaintiff,     DETECTIVES ROPENUS,
                                                                     MCLAUGHLIN AND
                            -against-                                SINGLETARY'S
                                                                     MEMORANDUM OF'LA\il
  NEV/ YORK CITY, DETECTIVE JAMES ROPENUS,                           IN SUPPORT OF THEIR
  DETECTIVE MCLAUGHLIN, POLICE OFFICER                               MOTION FOR SUMMARY
  SINGLETARY, ASSISTANT DISTRICT ATTORNEY                            JUDGMENT
  KEISHA ESPINAL, ASSISTANT DISTRICT
  ATTORNEY LAUREN PARSONS, ASSISTANT                                 l l-cv-19s (FBXCLP)
  DISTRICT ATTORNEY KENNETH APPLEBAUM,
  ASSISTANT DISTRICT ATTORNEY MARJORIE
  FISHER, DISTRICT ATTORNEY RICHARD BRO'WN,
  AND POLICE COMMISSIONER RAYMOND KELLY,
  IN THEIR INDIVIDUAL AND PROFESSIONAL
  CAPACITIES,

                                                   Defendants




                                  PRELIMINARY STATEMENT

                   Plaintiff John Tabor commenced this action on January 13,2011 pursuant to 42

  U.S.C.   $   1983, alleging that defendants City of New York, Commissioner Kelly, Detectives

  Ropenus and Mclaughlin, Officer Singletary, District Attorney Brown and Assistant District

  Attorneys Espinal, Parson, Applebaum and Fisher violated his civil rights. Specifically, plaintiff

  set forth claims for false arrest, malicious prosecution, constitutional tort, municipal   liability and

  loss of familial relationship. On August 19, 2011, plaintiff moved to hle an amended complaint

  seeking to add two additional individual defendants from the Queens County District Attorney's

  Office, On September 2,2011, defendants opposed plaintiffs motion to amend the complaint

  and cross-moved to dismiss the complaint as against defendants Commissioner Kelly, District

  Attorney Brown and Assistant District Attorneys Espinal, Parson, Applebaum and Fisher. On
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 11 of 30 PageID #: 479



 February    23, 2012, Magistrate Judge Pollak issued a Report and Recommendation
 recommending the denial          of plaintiffs motion to       amend the complaint and dismissal of

 plaintiffs claims against defendants DA Brown, Commissioner Kelly, and ADAs Espinal,

  Parson, Applebaum and Fisher. Magistrate Judge Pollak also granted the City's request to

  bifurcate Monell discovery, noting that        if   the defendant officers establish probable cause for

  plaintiff s arrest, discovery on the Monell claim will be unnecessary. On March 13,2012, the

  Honorable Frederic Block adopted the Report and Recommendation in its entirety. Plaintiffls

  remaining claims against defendants City of New York, and Detectives Ropenus, Mclaughlin

  and Singletary are ripe for summary judgment.

                   Defendants move       for   summary judgment pursuant         to Federal Rule of Civil

  Procedure 56, on the grounds that:     (l) plaintiff s false arrest   claim fails as probable cause existed

  for his arrest; (2) plaintiff fails establish a claim for malicious prosecution; (3)            defendants

  Ropenus, Mclaughlin and Singletary are entitled to qualified immunity; (4) plaintifls claim

  against the City of New York fails as plaintiff cannot establish an underlying constitutional

  violation; and (5) plaintiff s constitutional tort and loss of familial relationship claims fail as        a


  matter of law.

                                        STATEMENT OF FACTS

                   For a complete statement of facts, the Court is respectfully referred to
  Defendants' Local       Civil Rule 56.1 Statement of Undisputed Facts,           dated August 20,2012,

  ("Defendants' 56.   I   St."), submitted herewith.

                              STANDARD FOR SUMMARY JUDGMENT

                   Summary judgment is warranted when, viewing the evidence                  in a light   most

  favorable to the non-movant, the Court determines that there is no genuine issue of material fact




                                                         2
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 12 of 30 PageID #: 480



  and the movant is entitled to a judgment as a matter of      law.   See Fed. R.    Civ, P, 56; Eastman

  Kodak Co. v . Tmase Technical Servs.. Inc. , 504 U.S. 451,457 (1992)

                    A motion for   summary judgment requires the party with the burden of proof at

  trial to come forward with proper evidence and "make a showing suff,rcient to establish the

  existence of [each] element to that party's case . , . since a complete failure of proof concerning

  an essential element of . . , [the] case necessarily renders all other facts immaterial." Celotex

  Corp. v. Catrett,477 LJ.5.317,322-23 (1986). "'Where the record taken as awhole could not

  lead a rational trier of fact to f,rnd for the nonmoving party, there is 'no genuine issue for trial."'

  Matsushita Elec. Indus. Co.      v. Zenith Radio Co.p., 475 U,S, 574,         587 (1986). The Second

  Circuit stated:

                    [T]he moving party may obtain summary judgment by showing
                    that little or no evidence may be found in support of the
                    nonmoving party's case. When no rational jury could find in favor
                    of the nonmoving party because the evidence to support its case is
                    so slight, there is no genuine issue of material fact and a grant of
                    summary judgment is proper.

  Gallo v. Prudential Residential Servs.. Ltd. Partnership,22F.3d 1219, 1223-24 (2dCir. 1994)

  (citations omitted). The non-moving party must produce evidence in the record and "may not

  rely simply on conclusory statements or on contentions that the affidavits supporting the motion

  are not credible." Ying Jing Gan v. City of New York, 996           F   .2d 522, 532 (2d Cir. 1993); see

  Scotto v, Almenas, 143 F.3d 105, I 14-15 (2d Cir. 1998) (citations omitted); W)'ler v. United

  States, 725F.2d 156, 160      (2dCir. 1983). "The mere existence of some alleged factual dispute

  between the parties      will not defeat an otherwise properly          supported motion   for   summary

  judgment; the requirement is that there be no genuine issue of material fact." Anderson v.

  Liberty Lobby. Inc.,477 U.5.242,247-48 (1996) (emphasis added).




                                                     J
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 13 of 30 PageID #: 481



                For the reasons set forth herein, summary judgment should be granted in favor of

  defendants.

                                           ARGUMENT

                                               POINT      I
                        PLAINTIFF'S FALSE ARREST CLAIM FAILS
                        AS PROBABLE CAUSE EXISTED FOR HIS
                        ARREST

                In his complaint, plaintiff   sets   forth a claim for false arrest,l In order to state   a


  claim for false arrest or false imprisonment, a plaintiff must prove all of the following four

  elements: (1) the defendant intended   to confine plaintiff; (2) plaintiff was conscious of        the

  confinement; (3) plaintiff did not consent to the confinement; and (4) the confinement was not

  otherwise privileged. Weyant v. Okst, 101 F.3d 845,852 (2d. Cir. 1996); Bemard v. U.S.,25

  F.3d 98, t02 (2d Cir. 1994).

                 The presence of probable cause is an absolute defense to a false arrest claim.

  Jaeglv v. Couch,493 F,3d 149,152 (2d Cir. 2006); Weyant, 101 F,3d at 852, "Probable cause

  requires an officer to have knowledge or reasonably trustworthy information sufficient to warrant

  a person of reasonable caution in the belief that an offense has been committed by the person to

  be arrested."' Panetta v. Crowley, 460 F.3d 388, 395 (2d Cir. 2006) (internal quotation marks

  omitted). The existence of probable cause must be determined on the basis of the totality of the

  circumstances. Marylandv. Pringle,540U.S.366,37I (2003);              Illinoisv. Gates,462U,S,273,

  230-32 (19S3). Probable cause may exist even where the ofhcer has mistaken information, so



  I A Section 1983 claim for false arrest, resting on the Fourth Amendment right of an individual
  to be free from unreasonable seizures, including arrest without probable cause, is substantially
  the same as a claim for false arrest under New York law. Jocks v, Tavernier, 316 F,3d 128,134
  (2d Cir.2003).



                                                      4
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 14 of 30 PageID #: 482



  long as it was reasonable for him to rely on that information at the time of the arrest. Coyle v.

  Çoyle, 153 Fed. Appx, 70, 12 (2d Cir. 2005); Bernard, 25 F.3d at 102.

                     Probable cause requires only a probability, not an actual showing, of criminal

  activity, Ricciuti v. New York Cib, Transit Auth. , 124 F ,3d 123, 128 (2d Cir. 1997); Miloslavsky

  v, AES Eng'g Soc'y. Inc., 808 F. Supp, 351, 354 (S.D.N.Y. 1992), aff d, 993 F .2d 1534 (2d Cir.

  1993), cert. denied, 510 U.S. 817 (1993), and the validity of an arrest does not depend upon an

  ultimate finding of guilt or innocence. Pierson v. Ray, 386 U,S. 547,555 (1967); Weyant, 101

  F.3d at   852. Thus, whether the       suspect was later acquitted   of the charges for which he was

  arrested is irrelçvant to a determination of probable cause at the time            of arrest. Michigan   v.

  DeFillippo,443 U.S. 37,36 (1979).

                     "'When information is received from a putative victim, probable cause exists

  unless the circumstances raise doubt as to the person's      veracity." Curely v. Vill. of Suffern, 268

  F.3d 65, 70 (2d Cir. 2001); Singer v. Fulton Cnty. Sheriff, 63 F.3d 110, 119 (2d Cir. 1995),

  "Indeed, as sources of information go, crime victims are among the most reliable; they usually

  can provide a first-hand non-hearsay account of the criminal       activity." Campbell v. Giuliani,99

  Civ. 2603 (JG), 2001 U.S, Dist. LEXIS 609, at t9 (S.D.N.Y. Jan. 24,2001) (citing Miloslavsky,

  808 F, Supp. at 355 ("The veracity of citizen complaints who are the victims of the very crime

  they report to the police is assumed"), aff d, 993 F.2d 1534 (2d Cir. 1993), cert. denied, 510 U.S.

  Sl7 (1993)). "A variety of circumstances might corroborate         a putative   victim's veracity ... such

  as...   (l)   the officer's observation of the victim's physical injuries, (2) the level of detail and

  consistency in the victim's description of events, or (3) the victim's identification of the plaintiff

  by name and physical description." Jean v. City of New York,09 CV 801 (RJD),2011 U.S.

  Dist. LEXIS I10954, at*73 (E,D.N,Y. Sept. 28,        20ll)   (citation omitted).




                                                       5
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 15 of 30 PageID #: 483



                 Ample evidence supports the probable cause determination to justify plaintiff         s


  arrest in this matter. The victim's consistent allegations against John Tabor, given with great

  specificity, provided the defendants with probable cause. First, the victim spoke to Detective

  Asman at the 113th Precinct and stated that her mother's ex-boyfriend, John Tabor, told her to

  take off her pants, and when she refused, he took them off, choked her while holding her down

  and had intercourse with her, penis to vagina, See Defendants' 56.1 St.       ll 12.   The victim also

  provided the police with a s\ilorn statement detailing the rape with specificity:

                 I was in my room laying down watching T,V, and John was also in
                 my room on the computer. Then he walked out for about two
                 minutes, came back and told me to take off my shorts and I refused
                 so then he began to get rough and he started to take my shorts off.
                 As he was taking my shorts off he began to choke me and say
                 'yell, go ahead and scream for help.' As he was saying thoes (sic)
                 things still with his hand around my neck he forced his private on
                 me. I began to cry out but then he said 'cry for help' so I stopped
                 crying. After he was done he went into the bathroom and got a
                 washrag and cleaned me off. Then I started crying again, And as
                 he was walking out of my room he looked at me and said - 'stop
                 crying' 'don't cry you asked for it.

  See Defendants' 56.1 St.   ll   13.


                 That same day, the victim's complaint was forwarded to Detective Ropenus at the

  Queens Special Victim's Office and Detective Ropenus interviewed the         victim. Id. at flfl 15-20.

  The victim informed Detective Ropenus that the person she called her stepfather had been living

  with her and the day prior to him leaving the house she was home alone with him. Id.           atl22.
  She was fifteen years   old at that time. See Defendants' 56.1St.   I99.   The victim was not sure   of

  the date of the rape but was sure that      it was the last day the subject was home before he was

  arrested in Connecticut. Id.      atl23.   The victim stated to Detective Ropenus that she was lying

  on her bed when her mother was at work, then       plaintiff came into the room, forcibly removed her

  pants, began choking her, and forcibly penetrated her vagina with his penis and ejaculated on her



                                                      6
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 16 of 30 PageID #: 484



  stomach, Id. at flJ[ 26,27    .   The victim told Detective Ropenus that the plaintiff got a wash cloth,

  cleaned her and she began to         cry, Id, at J[ 28.    The victim went on to say that while leaving

  plaintiff stated "why are you crying, you asked for        it." ld. at\29.
                   In light of the complaining victim's particularized account of what happened in

  this case, it was entirely reasonable for the police officers to rely upon her version of events in

  determining that probable cause existed for plaintiffls arrest. See Daniels v. Citv of New York,

  03 Civ. 809 (cEL), 2003 U,S, Dist. LEXIS 19765 (S,D.N.Y. Nov. 5, 2003) ("Information

  furnished by a single complainant can establish probable cause when information comes from a

  victim who provides specific details of a crime."). Additionally, the victim identified                   the

  plaintiff   as the perpetrator. The identification and description established probable cause. See

  Gaston v. City of New York.           ll   Civ.4750 (AJP), 2012 U.S, Dist. LEXIS 46243, at *77-21

  (S.D,N.Y. Apr. 2, 2012) (description and detail of the rape, coupled with the identihcation of

  plaintiff provided probable cause); Parisi v. Suffolk Cnty,, No. 04-CY-2187,2009 U.S, Dist.

  LEXIS I12388, at *21-22 (E,D.N,Y, Nov. 30, 2009) ("probable                  cause   for arrest has often been

  found by courts where only oral statements and descriptions were provided by the alleged

  victim."); Jean    v. City of New York,20ll U.S, Dist. LEXIS                  110954     at *13-15 (granting

  summary judgment        for   defendants because the victim's allegations            of the rape alone were

  enough to give rise to probable cause); Smith v. Cit), of New York, 388 F. Supp, 2d 179, I85

  (S.D,N.Y. 2005) (detective "had probable cause to arrest [plaintiff] . . . based on fthe victim's]

  in-person identification of fplaintiffl and her description of the alleged rape."),

                    In addition to the consistent and detailed allegations, there was other evidence

  supporting probable cause. The victim's sworn statement provided to the detectives supports

  probable cause. See                   State of New           08-CV-1588,2012 U.S, Dist. LEXIS 70024,




                                                         7
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 17 of 30 PageID #: 485



 at   *   1   1 (E.D,N.Y, May 1 0, 2012) (holding victim's complaint, incident report and signed sworn

  statement provided the arresting offrcers the requisite probable cause). Here, the victim did just

 that     -    made a complaint, signed an incident report and a s\ryorn statement      -   all before   even

  speaking with Detective Ropenus from the Queens Special Victim's Squad. See Defendants'

  s6.1 St. TT l1-16,

                       Furthermore, the circumstances of the victim's complaint added to the probable

  cause. The victim told the detectives that she never saw or spoke to plaintiff since the incident,

  id. at      I24,   evidence that the victim distanced herself from plaintiff after the rape. Detective

  Ropenus was informed that the victim outcried to her cousin, id. at fl 54, evidence that this was

  not an isolated complaint to the authorities, but a complaint first made to family              members.

  Detective Ropenus was informed that plaintiff was incarcerated for approximately 2 lz years

  between the date of the rape and the victim's outcry, and once plaintiff was released from prison,

  the victim moved out of the house and went to live with her aunt. Id. at flfl 23, 25. The victim's

  behavior with her family and her need for the separation from plaintiff, someone she had been

  living with before the rape, provided more support for the victim's veracity and the existence of

  probable cause.

                       Although plaintiffls complaint alleges that the detectives failed to investigate the

  victim's complaint, "once a police officer has a reasonable basis to believe there is probable

  cause to arrest, the offrcer is not required to explore or eliminate every theoretically plausible

  claim of innocence before making an arrest. Baker v. McCollan, 443 U,S. 137, 145-46 (1979);

  Panetta       v. Crowley, 460 F.3d 388, 395 (2d Cir.2006) (quoting Curley v. Village of Suffern, 268

  F.3d 65, 70 (2d Cir. 2001)) ("Nor does it matter that an investigation might have cast doubt upon

  the basis for the arrest."); See also Brodie v. Fuhrman,0T-CY-4212,2010 U.S, Dist. LEXIS




                                                         I
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 18 of 30 PageID #: 486



  30158, at*24 (E.D.N.Y. Mar.29,2010) (an offrcer is not required "to investigate exculpatory

  defenses offered by the person being arrested or           to   assess the   credibility of unverif,red claims of

 justification before making an arrest."); Celeslin v. City of New York, 581 F. Supp. 2d 420,

  432 (E,D.N.Y. 2008) (detective "was not required to investigate                [plaintiff'] alibi or exhaustively
  search    for other suspects before acting on the facts at hand"                 because "once the evidence

  establishes probable cause, an offrcer         is not required to continue investigating, sifting            and

  weighing information, nor is an officer obligated to investigate the suspect's plausible claims of

  innocence").

                   On the other hand, detective Ropenus did further investigation to solidify his

  probable cause determination. He ran a search for plaintiff in E-justice, see Defendants' 56.1 St.

  fl   17, interviewed the victim's mother, id, at fl 32, contacted the Real Time Crime Unit with

  respect to plaintiff s prior arrest, id. at   fl 57, and he ran searches for plaintiff in other databases.
  Id. at 59.

                   Detective Ropenus was also able to clarify areas of uncertainty. First, the victim

  stated that she was raped the day before       plaintiff was arrested, when she and plaintiff were home

  alone.    See Defendants' 56.1 St.   fln22,23. The victim's mother believed                she remembered that

  day and thought she was home. Id. at llfl 34,           35.       However, Detective Ropenus was able to

  reconcile the date issue because the victim's mother stated that she was doing shift work and that

  she was not sure about being there the day         before. Id. at TI 36, 40. Also, Detective            Ropenus

  wanted to know why the victim did not tell her mother what happened right away and also

  wanted to know why she waited almost four years to complain, Id. at TI 43-45. The victim

  responded by stating that she did not tell her mom at f,rrst and waited almost four years because

  she   did not want to hurt her mother, who was plaintifls girlfriend at the time. Id, at llfl 46-48.




                                                         9
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 19 of 30 PageID #: 487



  Due to his training, Detective Ropenus was aware that when a family member is the abuser and

  another family member loves the one doing the abusing, the victim wants to continue to receive

  the love and support from the non-abusing family member. Id, at flfl 49.

                  Most importantly, Detective Ropenus, who has conducted hundreds of victim

  interviews, found the victim here credible, See Defendants'56.1 St. TT         21,53. He found   her

  credible because she described the incident using tactile responses     -   when she described what

  happened, she was describing how her body responded to being choked, about how her body

  responded to being penetrated. Id. at      fl 54. Physical and emotional descriptions of the actual
  event that led him    to believe that this is    something that actually happened, as opposed to

  something that was fabricated,    Id.   He believed he had probable cause because the victim gave a

  particularized account    of what happened and her description of what happened was wholly
  credible. ld.   atl72.   Defendant Ropenus' experience in conducting interviews of children who

  had been victimized, their delayed outcry and tactile responses, led him to believe that A,H, was

  the victim of a crime. Id,

                   Because the complaining victim recounted what happened             to her to    two

  detectives, and two Assistant District Attorneys, described the events with specificity, identified

  plaintiff as the person who raped her, and provided a sworn statement of the rape, there was

  probable cause for plaintiffls arrest. Accordingly, any false arrest claim against the officer

  defendants should be dismissed.

                                                 POINT    II
                           PLAINTIFF FAILS TO ESTABLISH A CLAIM
                           FOR MALICIOUS PROSECUTION

                   To state a malicious prosecution claim, a plaintiff must show each of           the

  following elements: (1) the defendant initiated a criminal proceeding; (2) the proceeding was



                                                     10
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 20 of 30 PageID #: 488



  terminated in the plaintiffls favor;' 13¡ there was no probable cause for the criminal charge; and

  (4) the defendant acted maliciously. Rothstein v. Carriere, 373 F.3d 275,282 (2d Cir. 2004);

  Rnhrnnn r¡ Nerv Ynrk      ìfr¡ Troncif Arrfh   215 F.3d 208,215 (2d Cir.2000). For a malicious

  prosecution claim to rise   to a constitutional level under $ 1983, there must also be a post-

  arraignment seizure. Jocks v. Tavernier, 316 F.3d at 136. New York law "places aheavy burden

  on malicious prosecution plaintiffs . . . ," Rothstein, 373 F.3d at282.

  A.     The Individually Named Defendants Did Not Commence Plaintiff s Prosecution

                 V/ith regard to the first element, according to New York common law, "the mere

  reporting of a crime to for by] the police and giving testimony are insufficient" to constitute the

  initiation of a malicious prosecution claim. Rohman,215 F,3d at217. Plaintiff must establish

  that defendant played an active role in the prosecution, such as giving advice and encouragement

  or importuning the authorities to act.    Id. As the Supreme Court recently    stated,   "it is almost

  always a prosecutor who is responsible for the decision to present a case to a grand ju.y.   .,   [and] it

  would be anomalous to permit a police ofÍicer .,. to be sued for maliciously procuring an unjust

  prosecution when    it is the prosecutor ... who is actually responsible for the decision to
  prosecute." Rehbers v. Paulk, 132 S. Ct. 1497,1508 (2012), citing Albrightv. Oliver, 510 U.S,

  266,279 (1994) (Ginsburg, J., concurring) (the prosecutor is the "principal player in carrying out

  a prosecution").

                 In order to state a claim against the defendant officers, plaintiff must show that

  defendants manufactured evidence that influenced the decision to prosecute, actively encouraged

  a baseless prosecution, or provided information to prosecutors that was maliciously      false. White

  v. Frank, 855 F.2d 956,962 (2dCft. 1988). Plaintiff does not have a good faith basis to allege

  2
   Defendants concede that plaintiff s criminal proceeding was terminated favorably. Plaintiff
  was found not guilty of the charges brought against him. See Defendants' 56.1St. 1J 104



                                                    11
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 21 of 30 PageID #: 489



  that defendants manufactured evidence that influenced the decision to prosecute, actively

  encouraged a baseless prosecution, or provided information to prosecutors that was maliciously

  false because it was the complaining victim herself who informed the Queens County District

  Attorney's Office that plaintiff raped    her.   See Defendants' 56.1 St. '1lT 75,   85. It was the
  complaining victim who told two Assistant District Attorneys that she was raped by her

  stepfather, and   it   happened on the last day that she saw him before he left town and was

  subsequently arrested in Connecticut for burglary and other related charges, Id. at fl    87. After

  the interview by the first ADA and based on the victim's statements, the criminal court

  complaint was filed. Id. at fl 79. As the complaining victim herself informed the Queens County

  District Attorney's Offrce about the rape, and the Assistant District Attorneys made the decision

  to prosecute plaintiff, plaintiff s malicious prosecution claim against the individually      named

  defendant officers should be dismissed.

  B      Probable Cause Existed for Plaintiffls Criminal Prosecution

                 'With regard to the third element, probable cause to arrest is sufficient for probable

  cause to prosecute unless facts come    to light between the arrest and arraignment that vitiate the

  probable cause. Batson-Kirk v. Citv of New York, 07-CV-1950 (KAM)(JMA), 2009 U.S, Dist.

  LEXIS 44841, at *24 (E,D.N.Y. May 28,2009) (citation omitted); Obilo v. City University of

  the Citv of New York ,2003 U,S, Dist, LEXIS 2886, at *34 (E.D,N.Y. Feb, 28, 2003), As argued

  in Point I, supra, probable cause existed for plaintiffls arrest. Plaintiff cannot present any facts

  that came to light between the time plaintiff was arrested and his arraignment that vitiated that

  probable cause, To the contrary, the complaining victim's own statements to the Queens County

  District Attorney's Office strengthened the probable cause to prosecute plaintiff,

                 Moreover, plaintiff was indicted by a grand jury on the charges of rape in the first

  and second degrees. See Defendants' 56.1 St. fl     94, Where,   as here, there was an indictment by


                                                    t2
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 22 of 30 PageID #: 490



  a grand jury, there is a presumption of probable cause. Savino v. City of New York,331 F.3d

  63,72 (2d Cir. 2003). That presumption is only rebutted "by evidence that the indictment was

  procured by 'fraud, perjury, the suppression of evidence or other police conduct undertaken in

  bad   faith."' Id. (citation omitted). "The burden of rebutting   the presumption of probable cause

  requires the plaintiff to establish what occurred in the Grand Jury, and to further establish that

  those circumstances warrant a finding of misconduct sufficient to erode the 'premise that the

  Grand Jury acts   judicially,"' Rothstein v. Carriere, 373 F.3d 275,284 (2d Cir.2004) (citation

  omitted).

                  The Supreme Court recently held that civil rights actions cannot be brought

  against witnesses, including police offrcers, for their testimony in front of a grand   jury.   Rehberg

  v. Paulk, 132 S. Ct. 1497, 1506 (2012). Plaintifls indictment constitutes prima facie evidence of

  probable cause to prosecute, and the absolute immunity provided to defendants by Rehberg for

  testifying before a Grand Jury, prevents plaintiff from rebutting the presumption of probable

  cause   by arguing that defendants made misrepresentations to the Grand Jury. Accordingly,

  plaintiffls malicious prosecution claim fails and must be dismissed.

                  Even   if plaintiff were able to overcome the absolute immunity of the defendants,
  plaintiff cannot erode the presumption of the Grand Jury indictment. Plaintiff already moved to

  have the indictment dismissed and New York State Supreme Court Justice J, Griffin denied

  plaintifPs motion on the grounds that there was sufficient legal evidence to establish that the

  defendant committed the crimes charged in the indictment. Id. at T 95;      Exhibit"Z"     annexed to

  the Modafferi Declaration, Accordingly, plaintiffls malicious prosecution claim fails.

  C.      Defendants Did Not Act with Malice

                  Lastly, with regard    to the fourth element, malice has been interpreted            as


  commencing or continuing the prosecution for an improper motive, for a reason other than to see


                                                   13
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 23 of 30 PageID #: 491



 that iustice is served. Lowth v, Town of Cheektowaea, 82 F.3d 563, 573 (2d Cir, 1996) (quoting

 Nardelli v. Stamberg, 44 N,Y.2d 500, 502-03 (1978)). Malice may be infened from a lack of

  probable cause. Sulkowska v. City of New York, 129 F. Supp. 2d 274,295 (S.D.N.Y. 2001);

  Lowth, 82 F.3d at 573. Plaintiff cannot satisfy the element of malice as there was probable cause

  to arrest and prosecute him, as previously discussed, Therefore, any claim for                    malicious

  prosecution against the individually named defendants should be dismissed.

                                                    POINT    III
                         DEFENDANTS ROPENUS, MCLAUGHLIN
                         AND SINGLETARY ARE ENTITLED TO

                 Qualified immunity is "an immunity from suit rather than the mere defense to

  liability and is effectively lost if the   case   is erroneously permitted to go to trial." Mitchell v

  Forsyth, 472 U.S.   5lI,   526 (19S5). The question of qualified immunity is independent of the

  merits of the underlying action and must be examined independent of the underlying claims.

  Saucier v. Katz, 533 U,S, 194,204 (2001). Qualified immunity protects "all but the plainly

  incompetent or those who knowingly violate the law." Malley v. Briggs, 475 U,S. 335,341

  (1986).    The purpose     of qualified immunity is to protect          govemment employees from civil

  liability where performance of their discretionary functions "does not violate clearly           established

  statutory or constitutional rights of which a reasonable person should have known." Harlow v.

  Fitzgerald, 457 U.S. 800, 818 (1992).

                  The qualified immunity standard is often referred to as "arguable probable cause"

  and is defined by the Second Circuit as "[existing]        'if   either (a) it was objectively reasonable for

  the officer to believe that probable cause existed, or (b) offltcers of reasonable competence could

  disagree on whether the probable cause test was        met."' Escalera v. Lunn, 361 F.3d       737   ,743 (2d

  Cir. 2004). An arresting officer is entitled to qualified immunity "as a matter of law                  if   the


                                                        14
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 24 of 30 PageID #: 492



  undisputed facts and all permissible inferences favorable to the plaintiff show ... that officers of

  reasonable competence could disagree on whether the probable cause test was       met." McClellan

  v. Smith,439 F.3d 137,147-48 (2dCir.2006) (quotingRobisonv. Via,821F.2d913,921 (2d

  Cir. 1987)).

                 As set forth in Point I, Up&, probable cause existed for plaintifls arrest. At the

  very least, the detectives had arguable probable cause to anest plaintiff. Thus, in light of well

  established law "providing that probable cause to arrest may be based upon information provided

  by [the] crime victim ..." it is clear that a reasonable officer in the same position as the

  individual defendants would have reasonably believed that the decision to arrest plaintiff and

  notify the District Attorney's Office was lawful. Similarly, with respect to plaintiffls malicious

  prosecution claim, at the time the defendants involvement in the case ceased, they still had a

  reasonable basis to believe that probable cause existed.

                 For the same reasons discussed above, there can be no doubt that, at a minimum,

  officers of reasonable competence could disagree on whether there was probable cause to arrest

  plaintiff on the allegations of the victim alone. SeeGranito v. Tiska, 120 Fed. Appx. 847,849

  (2dCir.2005) (police officer had arguable probable    cause to arrest alleged trespasser by relying

  on statement of property owner); Parisi v. Suffolk Cnt)'., No. 04-CV-2187,2009 U.S, Dist.

  LEXIS 112388, at *29-30 (E.D.N.Y. Nov, 30, 2009) (officers of reasonable competence could

  disagree on whether there was probable cause to arrest plaintiff on the simple accusation of the

  claimed victim alone, much less when supported by corroborating evidence); Donovan v. Briggs,

  250 F, Supp. 2d 242,256 (W.D.N.Y. 2003) (putative rape victim's statement, demeanor, and

  corroborating physical evidence sufficient to confer qualified immunity on defendant police

  ofhcers),




                                                  l5
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 25 of 30 PageID #: 493



                  Therefore, for the reasons set forth above, defendants Ropenus, Mclaughlin and

  Singletary are entitled to qualified immunity on plaintiffls false arrest and malicious prosecution

  claims.

                                                POINT IV

                         PLAINTIFF'S CLAIM AGAINST THE CITY
                         OF NE\il YORK FAILS AS PLAINTIFF
                         CANNOT ESTABLISH AN UNDERLYING
                         CONSTITUTIONAL VIOLATION

                 Plaintifls municipal liability claim fails as a matter of law. As set forth supra,

  plaintiffls constitutional rights were not violated by the individual defendants. As such, plaintiff

  has suffered no constitutional   injury for which defendant City of New York may be liable. City

  of Los Angeles v. Heller, 475 U.S. 796, 799 (1986) (if plaintiff             cannot show that her

  constitutional rights were violated by a City actor, then there cannot be Monell liability);

  Martinez v. City of New York, No. 06 Civ. 5671 (WHP), 2008 U.S. Dist. LEXIS 49203, at *12

  (S,D.N.Y. June 27,2008) (noting that "[a] municipality cannot be liable for acts by its employees

  which are not constitutional violations."),   affd Martinez v. Muentes,     340 Fed. Appx. 700 (2d

  Cir. July 27,2009); Vassallo v. Lando, 591 F. Supp. 2d 172,202 (E,D.N.Y. 2008) (holding that

  "no Monell claim can    lie"   where   a court   finds   no constitutional violation). Accordingly,

  plaintiffls claim against defendant City of New York must be dismissed.

                                                POINT V

                         PLAINTIFF''S CONSTITUTIONAL TORT
                         AND LOSS OF FAMILIAL RELATIONSHIP
                         CLAIMS FAIL AS A MATTER OF'LA\il

                 Plaintiffls state law claims of constitutional tort and loss of familial relationship

  fail because plaintiff failed to comply with General Municipal Law $$ 50-e and 50-i. New York

  General Municipal Law $ 50-e requires that a plaintiff asserting state law tort claims against a



                                                    16
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 26 of 30 PageID #: 494



  municipal entity or its employees acting in the scope of employment must file a notice of claim

  within ninety days after the incident giving rise to the claim. N.Y. Gen, Mun. L, $ 50-e (Consol.

  2001). New York General Municipal Law $ 50-i requires that the notice of claim be served on

  the City of New York and "commenced within one year and ninety days after the happening of

  the event upon which the claim is based." N.Y. Gen. Mun, L. $ 50-i(l) (Consol. 2001).

                    In federal court, state notice of claim statutes apply to state law claims. Pariqe v,

        York Ci           't of Sani             306 F. App'x 695, 697 (2d Cir. 2009) (citing Felder v.

  Casey,487 U,S. 131, 151 (1988)). The notice of claim requirements are strictly construed, and a

  plaintiffls "failure    to   comply with the mandatory New York statutory notice-of-claim

  requirements generally results in dismissal of his claims." Warner v. Village of Goshen Police

  Dep't.,256F. Supp. 2d17l, 175 (S.D.N.Y.2003); H)¡de v. Caputo,98-CV- 6772 (FB)(ASC),

  2001 U.S. Dist. LEXIS 6253, at*14 (May 11, 2001) (quoting Davidson v. Bronx Mun. Hosp., 64

  N.Y.2d 59, 62,484 N.Y.S.2d 533 (198a)); Silberstein v. County of Westchester, 92 A.D, 867

  (Ì.J,Y. App. Div. 2d Dept 1983),       affd, 62 N.Y,2d 675 (1984). Specifically, failure to comply

  with these requirements requires a dismissal for failure to state a cause of action, Brown v.

  Metropolitan Trans. Auth.,717 F. Supp, 257,259 (S.D,N.Y. 1989).

                  Plaintiff did not file   a   notice of claim. See Defendants' 56.1 St.   ï 4. Plaintiff   also

  failed to flrle this lawsuit within one year and ninety days of the date of his arrest, March 29,

  2009, Plaintiff    s lawsuit was   hled on January 13,2011, see id. at fl 1, almost two years after the

  underlying accrual      date. Accordingly, plaintiffs constitutional tort and loss of familial
  relationship claims must be dismissed as a result of plaintiff s failure to file a notice of claim and

  timely file this lawsuit, pursuant to General Municipal Law $$ 50-e and 50-i.




                                                         l7
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 27 of 30 PageID #: 495



                   Plaintiffls claims also fail on the merits. "The recognition of the [plaintiffs]   state

  constitutional claims was neither necessary nor appropriate to ensure the        full rcalization of his

  rights, because the alleged wrongs could have been redressed by an alternative remedy, namely,

  timely interposed ... claims for [false arrest and malicious prosecution]." Lyles v. State of New

  York, 2 A.D.3d 694, 695-6 (N.Y. App. Div. 2d Dep't 2003) (citations omitted), Accordingly,

  because     plaintiffs claims are appropriately     addressed   via his false arrest and malicious
  prosecution claims, plaintiff s constitutional tort claim must be dismissed.

                   To the extent plaintiffls loss of familial relationship claim is a due process claim,

  that also   fails. As an initial matter, common   sense dictates that any   "familial relationship" was

  foreclosed by the victim's assertion that plaintiff had raped      her. That plaintiff   was arrested,

  practically speaking, head little or no impact on any familial relationship. That said, the Second

  Circuit has recognized family members' general right to remain together without                     state

  interference under notions of substantive due process. Tenenbaum v. Williams, 193 F.3d 581,

  600-01 (2d Cir. 1999). The Supreme Court, however, has cautioned that substantive due process

  analysis is not proper "where a particular amendment 'provides an explicit textual source of

  constitutional protection..."'. Albrieht v. Oliver, 510 U.S, 266,273 (1994) (plurality opinion of

  Rehnquist, C,J.) (quoting Graham v. Connor 490 U.S. 386, 395 (1989). Specifically, the Court

  has noted that, "where a particular Amendment 'provides an explicit textual source of

  constitutional protection' against a particular sort of government behavior, 'that Amendment, not

  the more generalized notion of 'substantive due process,' must be the guide for analyzing these

  claims."' Id. Plaintiff has brought claims for false arrest and malicious prosecution under          the

  Fourth Amendment. Accordingly, any due process claim is improper in light of plaintiffls ability

 to seek protection under the Fourth Amendment,




                                                     18
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 28 of 30 PageID #: 496



                                           CONCLUSION

                 For the foregoing reasons, defendants respectfully request that the Couf grant

  them summary judgment and dismiss the complaint in its entirety, together with such other and

  further relief as this Court may deem just and proper.

  Dated:         New York, New York
                 September 4,2012



                                                MICHAEL CARDOZO
                                               Corporation Counsel for the City of New York
                                               Attorney for Defendants City of New York,
                                               Detectives James Ropenus, Danielle Mclaughlin
                                               and Joseph Singletary
                                               100 Church Street
                                               New York, New York 10007

                                                By:                 lsl
                                                       MATTHEV/ J, MODAFFERI




                                                  I9
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 29 of 30 PageID #: 497


                                  DECLARATION OF SERVICE

                 Matthew J. Modafferi declares, under penalty of perjury and pursuant to            28


  U,S.C. g 1746, that the following is true and correct: On September 4, 2012,           I   served the

  annexed DEFENDANTS           CITY OF NE\il YORK, AND DETECTIVES                        ROPENUS'

  MCLAUGHLIN AND SINGLETARY'S MEMORANDUM OF LAW IN SUPPORT OF

  THEIR MOTION FOR SUMMARY JUDGMENT upon plaintiff s attorney,                                 Duncan

  Peterson, Esq.,   by depositing a copy of same, enclosed in a first class, postpaid properly

  addressed wrapper in a post ofhce/official depository under the exclusive care and custody of the

  United States Postal Service, within the State of New York, directed to plaintiff s attorney:

         Duncan Peterson, Esq.
         Peterson Delle Cave, LLP
         At t o r ney s for p I aint iff
         233 Broadway, Suite 1800
         New York, New York 10279

  being the address designated by plaintiff for that purpose.

  Dated: New York, New York
         September   4,2012
                                                                   lsl
                                                        MATTHEW J. MODAFFERI
                                                        AS SISTANT CORPORATION COLINSEL
Case 1:11-cv-00195-FB-CLP Document 41 Filed 10/12/12 Page 30 of 30 PageID #: 498




                  I   l-cv-195
                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NEW YORK

                  JOHN TABOR,
                                                                 Plaintiff,

                                         -against-

                 NEW YORK CITY, DETECTIVE JAMES ROPENUS,
                 DETECTIVE MCLAUGHLIN, POLICE OFFICER
                 SINGLETARY, ASSISTANT DISTRICT ATTORNEY
                 KEISHA ESPINAL, ASSISTANT DISTRICT
                 ATTORNEY LAUREN PARSONS, ASSISTANT
                 DISTRICT ATTORNEY KENNETH APPLEBAUM,
                 ASSISTANT DISTRICT ATTORNEY MARJORIE
                 FISHER, DISTRICT ATTORNEY RICHARD
                 BROWN, AND POLICE COMMISSIONER
                 RAYMOND KELLY, IN THEIR INDIVIDUAL AND
                 PROFES SIONAL CAPACITIES,

                                                               Defendants.


                       DEFENDANTS' MEMORANDUM OF' LA\ry IN
                      SUPPORT OF THEIR MOTION F'OR SUMMARY
                                   JUDGMENT
                                 MICHAEL A. CARDOZO
                         Corporation Counsel of the City of New York
                             Attorneyþr Defendants City of New York,
                             Detectives Ropenus, McLaughlin qnd
                             Singletary
                             100 Church Street
                             New York, N.Y. 10007

                            Of Counsel: Matthew Modafferi
                            Tel: (212) 788-1652
                            Matter #. 201 I -00I 8l 3
                  Due and timely service is hereby admitted.
                 New York, N.Y.                                   ,2012
                                                                  .., Esq
                 Attorney   for
